                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

JONATHAN FRANKEL, Derivatively on      )                Case No. 1:21-cv
Behalf of GROUPON, INC.,               )
                                       )
                        Plaintiff,     )
                                       )
     v.                                )
                                       )
MELISSA THOMAS, THEODORE J.            )
LEONSIS, ERIC LEFKOFSKY, PETER J.      )
BARRIS, ROBERT J. BASS, DEBORAH        )
WAHL, RICHARD WILLIAMS, MICHAEL )
ANGELAKIS, and ANN ZIEGLER,            )
                                       )
                        Defendants,    )
                                       )
     -and-                             )
                                       )
GROUPON, INC., a Delaware Corporation, )
                                       )
                   Nominal Defendant. )
                                       )

               MOTION FOR LEAVE TO FILE COMPLAINT UNDER SEAL

        Plaintiff Jonathan Frankel, by his attorneys, hereby requests leave to file his Complaint

in this action under seal.   In support of this motion, plaintiff states as follows:

        1.     This is a verified stockholder derivative action brought by plaintiff on behalf of

nominal defendant Groupon, Inc. ("Groupon" or the "Company") against certain officers and

directors for violation of securities law, breach of fiduciary duty, waste of corporate assets, and

unjust enrichment.

        2.     Groupon provided to plaintiff certain documents which the Company claims

contain nonpublic, confidential, proprietary, or commercially sensitive information.      Plaintiff

used certain information contained within these documents in his Complaint. Pursuant to the

Confidentiality Agreement dated November 24, 2020, plaintiff is required to request permission

of the Court to file his Complaint under seal.




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        3.      Therefore, plaintiff requests the Court's permission to file his Complaint under seal.

In Littlejohn v. Bic Corp., 851 F.2d 673 (3d Cir. 1988), the Third Circuit held that the right of access

to judicial proceedings and records "is not absolute." Id. at 678 (citing Nixon v. Warner Comm.,

Inc., 435 U.S. 589, 598 (1978)). Rather, "[c]ourts may deny access to judicial records, for example,

where they are sources of business information that might harm a litigant's competitive standing.

Littlejohn, 851 F.2d at 678 (quoting Nixon, 435 U.S. at 598); see also Leucadia, Inc. v. Applied

Extrusion Tech, Inc., 998 F.2d 157, 166 (3d Cir. 1993) ("Documents containing trade secrets or

other confidential business information may be protected from disclosure.").                 Based on

Groupon's representations that its production contains confidential information, the Court should

allow plaintiff to file the Complaint under seal.

        WHEREFORE, plaintiff respectfully requests leave to file his Complaint in this action under

seal.   Plaintiff will then promptly provide Groupon with the Complaint to enable it to review it

for any information that it believes is nonpublic, confidential, proprietary, or commercially

sensitive. Groupon can then file a redacted, public version of the Complaint.

 Dated: September 9, 2021                            COOCH AND TAYLOR, P.A.

                                                     /s/Blake A. Bennett
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